                                1:18-cv-01035-JES # 1               Page 1 of 39
                                                                                                                      E-FILED
                                                                                  Monday, 29 January, 2018 04:57:19 PM
                                                                                          Clerk, U.S. District Court, ILCD

                            ~niteb ~tates                 19istrict '!Court
                                     CENTRAL DISTRICT OF ILLINOIS


                                                     )
                                                     )
                            Plaintiff                }
                                                     )
                   vs.                               )                    Case N o . - - - - -
                                                     )         (The case number will be assigned by the clerk)
                                                     )
                                                     )
                                                     )
                                                     )
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                                                      )
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                                                      )
                                                      )
                             Defendant(s)             )

(List the fall name of ALL plaintiffs and defendants in the caption above. If you need more room, attach a
separate caption page in the above format).

                                                  COMPLAINT•

Indicate below the federal legal basis for your complaint, ifTatown. This form is designed primarily for prose
prisoners challenging the constitutionality oftheir conditions ofconfinement, claims which are often brought
under.42-U.S,C. § 1983-(against..state.. county, or municipal defendants) or-in a-nBiven6'! aalion (against federal· .. · ·
defendants). However, 42 U.S.C. § 1983 and "Bivens" do not cover all prisoners' claims. Many prisoners '
legal claims arise from other federal laws. Your particular claim may be based on different or additional
sources offederal Jaw. Y011 may adapl this form to your claim or draft your own complaint.

/    42 U.S.C. § 1983 (state, county or municipal defendants)

Cl   Action under Bivens 11. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)(federal defendants)

Cl   Other federal law:




                                         I. FEDERAL JURISDICTION


      *Please refer to the instructions when filling out this complaint. Prisoners are not required to
      use this form or to answer all the questions on this form in order to file a complaint. This is not
      the form to file a habeas corpus petition.
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other federal law. (You may assert a different jurisdictional basis, if appropriate).

                                               II. PARTIES

A. Plaintiff:

          Full Name:      dos hU A- -f-fo.sk.1 n-s
                                           ·01)Ll51Q
          Prison Identification Number: ---
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          Current address:      f "11ffitlt ~0011 &nkfl                     f tn'"'6Xqq
           ~ · ~I fe11toY
For additional plaintiffs, provide the information in the same format as above on a separate page. If there is
more than one plaintiff. each plaintiffmust sign the Complaint, and each plaintiffis responsible for paying his
or her own complete, separatefilingfee.

B. Defendants

   Defendant # 1:

           Full Name:

           Current Job Title:

           Current Work Address    s+A-JGvJjJe_ f'A2f2tcJ-/or11t1           ClnGe/Z.
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    Defendant #2:

           Full Name:

           Current Job Title:

           Current Work Address    fbn-H (}.( {XJ1<J2.e6f-i.~'f\.l*\1 c_,e,n}.::;Jl_.
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    Defendant #3:

           Full Name:

           Current Job Title:    Ass~ 5~1-          wA-e4<,o
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           Current Work Address{jhlJ !l)jJ-} /1,{     {)OflUc4-/ orvt1 C!..e-n -1-e/2.
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  Defendant #4:

           Full Name:          Erf1H Y Rv.sKrn
           Current Job Title:    lt-¥$-r,~/)4- W/rR.d.Lf1
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    Defendant #5:

           Full Name:

           Current Job Title:      $U(<'JJnJ,--,. /1(/U/1't
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           Current Work Address

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For additional defendants, provide the information in the same format as above on a separate page.


                                             III. LITIGATION ffiSTORY

          The..~'three. strikes n1/e'.~ bars.a prisoner.from bringing.a civil action.or.. appeal in /Ormq.pauper-i§ in .
federal court ifthat prisoner has "on 3 or more occasions, while incarcerated or detained in anyfacility, brought
an action or appeal in a court qf the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger ofserious physical injury." 28 U.S.C. § J915(g).

A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved

in this case?             Yes Cl                 No   u/
If yes, please describe   +h~s ) s 4-he. oo\j 1hh~&>oc:t~+;oo~ <*ltx\f\tl&nY-0}
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B. Have you brought any other lawsuits in federal court while incarcerated?

Yes   rJ             No   CJ



C. If your answer to B is yes, how many? :;),)             Describe the lawsuit(s) below.

                                                            3
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                               1:18-cv-01035-JES # 1             Page 6 of 39




  1 Naroe of Case c;oun apd Dgs;ket Npmher


  2. Basic claim made    fa\ )Vf<e fo f Et>k.4
  3. Disposition (That is, how did the case end? Was the case dismissed? Was it appealed? Is it still

pending?)        ~k CA-5-e--S-e#led Otl'r

For additional cases, provide the above information in the same formal on a separate page.



                        IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

          Prisoners must exhaust available administrative remedies beforefiling an action infederal court about
prison conditions. 42 U.S.C. § 1997e(a). You are not required to allege or prove exhaustion of administrative
remedies in the complaint. However, your case must be dismissed if the defendants show that you have not
exhausted your administrative remedies, or iflack ofexhaustion is clearfrom the complaint and its attachments.
You may attach copies ofmaterials relating to exhaustion, such as grievances, appeals, and official responses.
These materials are not required to file a complaint, but they may assist the court in understanding your claim.

A. ls there a grievance procedure available at your institution? Yes     f'1f'   No CJ




                                        V. STATEMENT OF CLAIM

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  Date(s) of the occurrence   JJ:tnuMYJl.O11 - NtJ VeJY1 beg ;).i Hl~DI 7
  State here briefly the FACTS that support your case. Describe what each defendant did to violate your federal
  rights. You do not need to give any legal arguments or cite cases or statutes. Number each claim in a separate
  paragraph. Unrelated claims should be raised in a separate civil action.

  THE COURT URGES YOU TO USE ONLY THE SPACE PROVIDED. Federal Rule of Civil Procedure 8(a)
  requires only a "short and plain statement" ofyour claim showing that you are entitled to relief. It is best to
  include only the basic, relevant .facts, including dates, places, and names.


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 .+or d e¥h 04= Kw bC1W :i wt1v1tl Mxe. b.tro Mt~ifl.l±kJ antl hiXU -: aitdn+ H'f&J-.(Jl.J M Cefh.k.t)
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+old tNtMf 111 tMkcf.i3DI I &µa,,o~yQ(ol'I. ohle I 4&tJve;I q±OfblpcaHAclz.p.o.l.)
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  "+kkc~ qoJ vt/nL. dowrtylJvfl. +ofW; :fMs/bk ,·s3b11nA-ibtybff w~ ycv i.J11 ofil-k11bk.
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~..vsh@g,shH:(IJ/kt hv~rzlanf-Hey) et&! 1:. ktwwy(Ju 'KMw 1~ n#-;;t;#:l?lkf:J :fo\J
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~LddJ(S ywfflea lawsuits oo +berttho+b SI/; trnght!n.t getft;u McK.fot +M+ my.ikJ& MmY
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 wNI nt>,.9a-shaJ@.hyfjtlnt-<'IJSfrleli~{ &llShJ+~ISeflvrt w ( k@WY(JU !'fl TU.AA of..-c.rtd Chia
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fh+tw M.den pR/s+a ~1t/ ha i+iiehl wd&leas mDv/a iUnMJf! RusK.tn.Mflc-<M M+lj&Slllmt1+2-
a.ntJ ath~RS tbtt~ was comtqjfcfumMca11J!oa_fhctr? h liM 1wtd@Y!M1 +heYjr:Jhkiwn
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 ~e:/old aw fhe. not:thee11 h()(}Se51!#s twl-+oJhie. YDv Nil Of;V£vg h~ern~ pt!xlu<J5 flotuhtf
 as-s/ilattfw~-to ~t10¢y 9fakJ -lk>skk           )'Ov f.emtn1~ gkRe Yf!v le.ftpo(tlfac.. ;z w"-S ~
 covnse/Dfl 1yovll.(J;UO!if./{J(l, whatlv vs~ «J pu-'JBJt.V'Ml&.s ajtffik f\Dwi    fv;y,(JUnMlt)-14
  t;uM.bo kojcn0,4-Sht>W'fDt1 lt1hA+=I C{Jllld do .fa jbl) 4nJ shot.J ,Y4t> LJMi-p,,Ybw<anJ9'*
 b~£1£ rotAn j,Sw#yDv?nMstay alvl?J In eA--eh t>l-'fprtg /lbl-/baJJlrw;e GIJ}/1vf,·n4sfYI.
  StntJll1J youwlt we.g()fl(J&- rMKe ypv Voml+ ~&l l}ve la /J- ,V,,v ""/4N-1'<4ltlefe sbcwaaYrJ
 y.tJvf!. litxl(YllJl leJts nOl?W'4shyov(l. elMbfJ fP.'jou Mvt any w.#(h. dvcftj +h<ll-~·"·-1
   in.JulqcJlt>n+M+~Wwl+bas$IWa.tw~n><eo11,Jt,5ksJqp<Ja+myceM(/5<17)
 e1tul$faka-Hiat htt.chJd)ovestlj+lur? KiJ'YMYlrkDoer11dt9thtR.tt'!ffihAd heJJ a m«fyj
  tibou+ /YlL. ~ fmmtJJa.lliy.f#J ho. fba+- tfllk.5f 1JUSr f()tfdt(( euiJ t>tbti bvp lJas ti/I rn my eel f
  {IJ.a wl ~'Jpn mVpoJr Jt-i\'tJ bvrrf?s b'1z/ets and J.ve +o my.folw-hr.JJ-lutureJ 6f.t. Wha.e. :!lt;-viJnlf
. f21f6h :-1-fh#. h4-d u.v~¢ meto5mdl +ne.~bl#. .fvmes .6£Ws~.11nnt +M-1-W b.aapmJ
   up ih ~y@llff tW-.z wASQt        bel'"'    loWeJ # IJ11sh mf ./prtef. wtcs ktydllll&11&l?<Jwm..hY)du
   Supplles_weett/$4ttf#+fl20 dlstak+MtJM(U.( 1/1«111J&y.setvi'w and y.,t~ q.s~ IYIMl-w.Win
   ~en0t4yJ.14teJ fDV (now lMe KnpWth#SM./-yov wa.r;.+old byq11 a.f! v~oP- why ytiv WllS
    ~c~ l#fitiU W~ )0!l i!e.ntn?li« WMt                           &lUnlllil0   o.M as~Vs/r;11f 1JAruJ,,,
   &CISK. .fold yDv 14fd-Wee1' wM/Mflk/d.S-<nf)lov h«<_-ip kh1lififfl¥fmjl~
   'jP.U ha¢ -fo~ kUZJn~ tU I Jbofl!..8 lf~/t(J(J!( tJtnJ Co11W111s ygfht, ht!,'J,{Mmin/$NUf/vt.-f&/au
   J,""IZJ) PO Md 4hwtrttt $6 ;t.·11{~~ tDnH'nvt.# {1lt!rt~u(l.'fl2l>'Joargetsbowecs,.hy~n~
 .supplies, SAatla+lon svpplfts; lavadfl5«\'1ees no/1.. sh#-eJ$e aad I ,,.. m&~ svitL- J-ovtZ- ici~t:f
  s+ayt.vt-off Whet~ yov®J. flwhjht.shtt+te .J.oflg= yoVJbnM eAffb@tgb#ili Shlt
 4tuJ iwi 9w t>#tca.s A'#f7 SdlrnLltz.attd ;tVr;JOflp1!.tt!t1~ utne upwlfh1Mt .I4u.dvt.tj
 the, lnMc.#Of\$ *Md w~+h ~ Jrttl\lry) ~tllflidtliUSK1'n Ofl 1-1$-11 wl#fJyz
                                                           l


                                                    I g.
                                                    •
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    yovsu .zMven4- fesptxrkd iAA+lM:yw /&?cw I Knowg,u!do11f3lve et ./tJCK. :r..Jdlt.1
    a II c.P. f()V 5/gf'# 1n-th~ nogtb CtJL h<M~ no+fo tHlow yw fo Cutwc. w«.14f S~oww
    hYgtfbt l1Ut!SSt# ~S: faundt'{54vfa.s.     lWnl'' tnA*JlL.tl   Shf+:t.Jbtle. )lov ~+ PbMltk
                                                                   ()/l
    Sfnlc .YDV hAtJ £lkJ q /41JJvltllijtlots   roeJdevMus a;Hfn-1!; mt /11V~s#J119tb#/'c4.
    A+Ji5 ttnd     mt   As5'5-MntLvM.rlen K-l()ooly yµ-11:-s 1t30 whbi She wa.s yPvfl. (l;un>tJ01t.
                                                                                     1


    we K#<W WAfJJropf-15#.P. W4 s g,01o+ S<nd yPv he/1~ bef(ltlt. yPU aBRJvtJ '1t4 a.nd y/Jv
     I      ~      Di fJ P#tL ~~ ~l'kll#j ./-M+w. s IY'Atl~ Mel ,..,. () .e &n +o .6f- ~u
                 e+o <>f'lHAt: as lscv
                                           j

                                                   Lu~efJ                        u   -!>--,,.
    }%4# ,Pbt1ifal he:(pFJsJa}ff;ld vs .flvt+he.fatd yo11.}wlle tH.Jtfbls yeAIHMt he WM
    gmne,-w.Jy-0v heu ifs t{l<>t+Mtz Kllew ;Tvs./-llJUI knownoiv w~eMvtCAvsd
    y.wf'... h!Atfh IJ..41he. Mv!Jio k hwu) hbw Wej# VDU hou~eJ gM f8v wfl I not--l>e je#l1J
    m<dl"ft ~t £/.t6a.. wM.dm Emhy gvsKln .SM.W yauSctl2wed /he et>Ht.ef/m.e
    'j{)v JPO"k""hwsffl heu In fdntflk tT5S}ffl!n+WMtill1 KulnuJfSlfd.kJ:T~fwPtkh
     dvp.Jryfhe ,'Aftp.4,+Joti ;r h.+.tl ivflh, Ass.Jsl-4 n+wAfld01J<Lmut 011 -r :J.B-n sh< SMW
    S"bt kNi.W IWasJ®M ±llt#sv~+btco sosbcmA-d~ve.~+w-htg~ bv~Jlts 1~:!&!/fl.
    hutfbCAa.tunlt mtdlrA-1 'l>fg1.c.JogA-.+IJdtn ,pJ1Ysk.Jmy;s~J~1-~ OJ.~IAt:le/l.N'{Rt.JISiad
    r'lv~i 'J""M       .t tn tv1Kl11l.      J ellesv)k:. Id        e. ~~ff#,,         tn-4- fl-o
{    I({;;   )

    fll-ed e11ysld<-@1 ~ ps:/hAt:IMJ d}g~ .h:;Jhe/f ht+l#i ug, vn;l She Sf4k.J WMt
    BN·t; :JAJe&.+tw.l :HM m«!dullf}Jhe~Q(:JJ()ns #1M- +W wt+hfhw &1nJ rept+h!I
    .f@m wotd .J.owOlt.J t.dhAfthet btt:JfJ1rl.fo r1Lt(se€{JBMjf#hJ4td.J.&J3 ) she.
    ttJ!d        ht tJ w             .A-:a e ta~I f';       w~ h~Wk# Id tel~
     :     eccflofts -    . wl      h J~e aAA             L/ a~lsla11               kt           ~
    #;Id m.e ShL Md eu 'c 5fokut with n1eJlrM t>lructoi! A-.+/ tdetl ~11d he. W 1()td hlll
     w1*rhe..            d 111-t.. See                  ShesaJd with ht/t..Mv/n 4 I o~fhkf
     ffifu:/Mfl on fflrYI eA-th cNheM :.f.. :f was io Cht.llm3e J.hfill lPMlltJioWlrtt)s me-,\.,
    Cbvl+.YAfltJ.JhA+=Httf~ CCflducJ-hlrd CAtJsul et~ lmpar..tOn            my JuA-i+h 1 WMnt
    gan11.ttlwve ob evfdlllce f{l.Ptrl.fhe.lg heA+lh tAP.tvrit+- s+A.f.lvy fM+'Z= Md Jssues clue
                                                     13
                                                      f
                                        1:18-cv-01035-JES # 1           Page 39 of 39
 -fo fflY lnhvrM~e i'O(tdH-lonst#eo~-l'rk!.mtnf :~sv~ Sht.h~                            .
   nv~se: -:fA-ol~ 1Jll}Jlfn4 t.uHdfl ~I A                    -fvl!;fAa ~ -IM-~l!ejJ.sk~
   physldM 4 ssls+an/(fJ.A., \ P, ~;Te::U~;*'~ -Ai +/ftkn. nv~ pll+c.+l.J/tJna c. fflln5_,n ei nJ
    ,,.1                         .'J        +. em { l(au1edy l IJ.lhtt s-M Pr~ ..fM+fht1 l-v1tcJ nevetz_
   (.)0(urrJ(fl-i<d  rny compJA/trlsf/-.kf ~Md ~*'+hem tJJnd ht+1~-L •                               IL.~.
                                                                                         -,,.,,SSll~..,.,urrW4s eA-vSeJ as
    a tesu1+qfl my fnhvmA-ne cont)JfJof1.5 fJPCPl'll-fn~l.t/MI~,, o-.P..1U1 hv1YW1 n.~ussl7/t!$ . as.sl~tJ-f
    W~n lannuJy h+dfvJYh~ St4kd +htf ph~sltMnA-5S15fMifl>J"eJAdl Md toJtl httt.(kLn/JeJ/)
   Cit'Jd chle.P...Jhve5lfJtfo1. /Y1~. JC~uy~vldsofJ fhlr-1-fNY M-d a~allfl'rrtLs dis:J.to~tJ qJI N- my sJc>c
    l-t/t Slips 4"MI-- dt-k-11/ed mt compWnf! qbllvi-- my lhhv}'t'JA()e tbrul/+/011!. ()/2~.,,.,/4'n~m~J- and hlA+Hi
    Issvl.S CA-tJsd as t::f r-es~Jf O:P my ;o~l+/otlS of:-cun#nztrUnJ,,(8)tJn t./-IJ.-J7dvll.Jn 1 ~J,e uP.Jymoot
   Whtl( bt!f;,1 ;n.J.lu.cidml11iJ/fU+lof1 bu11tl''!J 1s-18- 11, t,-d.3 ·n , ~- 3lJ-17dut':J .fh.~ ~IYlfloMlllj ;11
                                                                                                                                 1
   +ht nofl.#i ~efJ htJUSl. (A!lJ./)   rw      1\JaacfltMs wl+h l/RVkM-nffYl~-EUtseyon.fhot£e M-1-ls qnd on
   410.f o~ o fhta &A+es. t>rt +h~ ~k o.P LJ-19. J7 h'~'*'1Ant-E~y 5-law trU dut.un SN/rRl,'ny vp hls· ~c..e.
  4f Ml .#e1rflr:; tve kttJ wAfUlen filsk~ MtJ you tJt../-n/s 5fA.}eY1JU l{tC. t1nd w~s,,9t:Jn"i1A evtnlUA·flY
  terul you Milt whkh he s+vcK. ./o his WC(l..J .. yov.p/JeeJ fh+-+ /af,,,;JuJ-1--a~ /11.e tlffel.. yov Md }tlt-
  P()flJltu. f!lSfl+u+/of'I (fl ~IJ15l~ y1·u tJ.,9JnJ.W1tf1J.rfot10 N- whJJ..i. )'cu W45 hell..£. bv+.s,'na Y"\Jll41'llt
  bAC k 1'vrt Jbn llA frJA-Ki-SVIU .fM--+ yov OQtt./- fect!IV-(. n 0 sht>W~lt~ I Ce> I Stvdf4~Dr'J SvppJt{j J k13elht ,'.J.e""',
 (/IJ.fh/"J i:.kms tJ!l. Shlf ~ f~m'ise. y1Jv+Mf :f'() ,'n~hl- pK{)ceSl 1.Pl.effl't11 a11 my noR...fh tell h111Jse
 S/ttffi K(Jt;W f10f- +ogJv~ f-ov 5hl./- +o ( t.l!Anyovtl ass {13odl) 411d ct11 wr+J, lrfl,Jbr>M mAK'-you
 f l!jUJ-fM+ yov sved me . Wt4tu:Jenf>A~sk11.. hA-d vs p~epet/l.d INlttl+t'!J .Potz.you .rov.JotlflA-~L-1
 f!lM-kd /;~we ffll.A.fe..J          jl>v 1h +k YtA-l!S J,014£'1015 Wh£11 you W4$ Jo~n Juu in pon/Ml. /wvJ',,J
  yov In ce11s flvfn ('fJn-Mm:IU-ka l#Nh shl+(.fectt.s) piss(v/lJ'ni.) t:1ttrJ ol-h~ boay--t-rulds yovw4f11..he1tb'ltt
  fo CliA-n y.ovr;..{l.1/. no1...you'l!. /1'W'!_J 4/l1As th-1-hen-f)~fh c.e11hoVJl. WMth ., dvdnj+k 5-le-111'f1k~tun'ot1
  1-k+ ~ h.4c:I ANl+h 1:ev/-eMnf-c f.Ufsey 7 fA-11.2() hls n+rru i&nHP-t:J my ~--lo him he1mmtJ,'4kAf
   s+~w ./lvt-1- h/,,,, w1rt.tk.11metvl11 f'nVes+l/j+lo£f pl~ff.Ce..&+ledtlcK we,~ f-aettHY th.scvssfnJ m.thow./Jity
                                           1

  41 I wa.s l'~Pflfl+ fYJA-~.SIJ~ f4J:- ~ (UVeR.. hA-~1 r~~e~VuShoWJe~1 hV3t./n~ iJefTls,Cl1AnfJ.PvHe'1411JavnJtY
 S.ell.VJ'u / lA-!lJ, tJl>f/,fj AS /~,4S ;rw4 s hov~o:J t11f/ie nollfh le//hovse &lfl~I When :I-JDf~fhe
 tves+eeuhovse.. JleukM.nf &rlff.ey ~#kd frlLLfuf!er)t:ftzJ oHlc:.~zttHIJ Is ;?f·Hry you Mcklo1t sv1~
 LIS and f)Vfl.Co-wo~s 4flJ fhey-JoJJ ~"'+he ntJflf/, cot hot;~t:1nJ We~+teJ/ hovu,5-/eiM t'lbf fa
 pfl..t>v/de yov1,~A+hshl.J- dcNl"?'J fh,e.    ~-;J'J-J 7 &(p ~ Jo- 17 ;(l~/lA(.flg(ls+M+ ~Md w·ff/, J,'evkntnl-
 t:1., f!ey M .S-1-etfed +M--+ he. JkNttv·+M--1- my vnsar1i-/iuy teJJ e rrv{RO/e/Y'i.LIJ./-atlJ ck11/q1 C>F shotvetf tUld
t.OSMe+lQ    W     (A-u~ &f b~cl :,,_,~ o-in my heAJ-#i hDm ~Jje' w/fh /(,N'S'J"A-fk 'Pf.;ll~:J lulkln ,-MAcl
k:Te11esv/>: physJl..11/ffl ~s-J~.f lJ:f..elA-<U t:fnd mLtl/rA1 :p/~t.cJ.d~ ~tlldtn Who #Id ~lm'#iAff-hey
Wasnt- ffl()vtci:flj fr)( wl+Ji tri~lv+A frUA+f'Un4 bu.J. hl ~leJnJ. jive t:1 /j.Jdl l.Vt1 5 s+WjonM-/-el-trl-t
              1




go w-lth ov.1-Jnowe~.s, YM.d, Cl-l4-fltnj flUl.elJM, Javntl1.y 5e~vf(c1 h19~f'n/, :-1ems qru/ qi/ 5/''i Ke ~Md
 f/ied q JA-wsu/J-1)11 h,41,, t>#ke.t rl+l-~1 arul rtll'r7~r<p!l.ertHce and ton~n!JY Ienl-Kl..Jes ..Jo mtflkllhtA-JfJ,
pl!OfeSSJon.t1 (miff) ms Jnt>l ne£/J ano o+f.tt..s e~mp14J'nloJ ~blivf-fh..e, Vfl!MllatlY lVmJl+/tJ-M fh+l--fk:/ (Evtuy
                              1


&f>lheK..5/a.Ns) Md /fU. (1JvfitJf,,).(qJon5...;i3-11 bn-7~-~ - t7 a11d o-n. mulhplc of-Jiu. octAS~/pns dUl.11)
+~ m1Ja.nfnJ f11 .fA..e nolfht.!JJ ht>l)u.(Nt..ff) zW mv1+;ple irtkJ?AcfJ~~~ ivl+h //~U/enAIJJ.f,y//-lr
tfu~n9 +he. 5-a:3-17 ~ll..<lc+lon I Mel wl+h )/e:v/eMPl-f11fl. f .\'/Jf S+Med-fa rru..J-h#-h~ ('lftf)!Jffif!tJ
Dlsoffr ttH/j·pJtR..Ce .+ledR.lc~ ffl.arn ;r.A-.(1hleRru=1aPfe.J~unl~ th/e{ /nves1ifrit'£ ltet1y tJ,+'Jci.Son, 1,•••111Rtltn
                                                        -14-
